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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

 STATE OF FLORIDA,

                Plaintiff,

 v.

 XAVIER BECERRA, Secretary of Health                 Case No. 8:21-cv-839-SDM-AAS
 and Human Services, in his official capacity;
 HEALTH AND HUMAN SERVICES,
 ROCHELLE WALENSKY, Director of the
 Centers for Disease Control and Prevention,
 in her official capacity; CENTERS FOR
 DISEASE           CONTROL              AND
 PREVENTION; The UNITED STATES OF
 AMERICA, et al.

             Defendants.
 ___________________________________/

      UNOPPOSED MOTION FOR SPECIAL ADMISSION, WRITTEN DESIGNATION
                         AND CONSENT TO ACT

        Pursuant to Local Rule 2.01(c) of the Local Rules of the United States District Court for

the Middle District of Florida, proposed amicus curiae the American Society of Travel Advisors

(“ASTA”), by and through its undersigned attorneys, respectfully moves this Court for an order

permitting Peter N. Lobasso to appear in this Court as co-counsel on behalf of ASTA, and in

support states as follows:

        1.     Mr. Lobasso is the Senior Vice President and General Counsel of the American

Society of Travel Advisors, Inc. (“ASTA”), 675 N. Washington Street, Suite 490, Alexandria,

VA 22314 (Telephone: 703-739-6854).

        2.     Mr. Lobasso is assigned, along with co-counsel, to provide ASTA with legal

representation in connection with this matter.
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       3.      Per Local Rule 2.01(c)(1), Mr. Lobasso is not a Florida resident and is not a

member in good standing of the Florida Bar. He is a resident of Virginia.

       4.      Per Local Rule 2.01(c)(2), Mr. Lobasso is a member in good standing of the State

Bars of New York, Virginia, the District of Columbia, and the United States District Court for

the Eastern and Southern Districts of New York.

       5.      Mr. Lobasso has never been disciplined, reprimanded, suspended, or otherwise

sanctioned by any court.

       6.      Per Local Rule 2.01(c)(2), Mr. Lobasso does not maintain a regular practice of

law in Florida and does not make frequent or regular appearances in separate cases to such a

degree as to constitute the maintenance of a regular practice of law in the State of Florida.

       7.      Per Local Rule 2.01(c)(4), Mr. Lobasso has not appeared in any state or federal

court in Florida in the last thirty-six months.

       8.      Per Local Rule 2.01(c)(5), Mr. Lobasso hereby declares under penalty of perjury

that he satisfies the requirements for obtaining and maintaining general admission, except the

requirements of membership in the Florida Bar, submission of an application, and payment of a

period fee because he:

       a. Is familiar with 28 U.S.C. § 1927 (Rule 2.01(b)(1)(C))
       b. Will comply with the federal rules and these local rules (Rule 2.01(b)(1)(D))
       c. Affirms the oath (Rule 2.01(b)(1)(E)):
            I do solemnly swear that as an attorney and as a counselor of this court I will
            conduct myself uprightly and according to law, and that I will support the
            Constitution of the United States.
       d. Will register with the Middle District’s CM/ECF System immediately upon
          the granting of this request (Rule 2.01(b)(1)(G)).
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       9.      Per Local Rule 2.01(e), so long as he is appearing in the Middle District of

Florida, Mr. Lobasso will remain familiar with, and acknowledges that he is bound by, the rules

governing the professional conduct of a member of the Florida Bar.

       10.     Mr. Lobasso designates Eric J. Stockel, Esq. and the law firm of Schouest,

Bamdas, Soshea & BenMaier, PLLC, 750 Park of Commerce Boulevard, Suite 301, Boca Raton,

Florida 33487, as the lawyer and law firm upon whom all notices and papers in this case may be

served, and who has entered his notice of appearance in this action and agrees to be responsible

for the progress of this case, including the trial, in default of the undersigned. Eric J. Stockel,

Esq., is a member in good standing of the Florida Bar and the United States District Court for the

Middle District of Florida and maintains an office in this state for the practice of law. Through

his signature affixed below, Eric J. Stockel, Esq., on behalf of himself and his firm, consents to

such designation and the terms of this Motion.

       11.     Mr. Lobasso, along with undersigned local counsel, hereby requests that the Court

provide Notice of Electronic Filings to him at the following email address: plobasso@asta.org.

       WHEREFORE, Proposed amicus curiae requests this Court (a) enter an Order

authorizing Mr. Lobasso’s admission pro hac vice to practice and represent ASTA in this case

and any related proceedings; and (b) direct the Clerk of this Court to provide notice of Electronic

Filings to Mr. Lobasso at his email address: plobasso@asta,org.

                           LOCAL RULE 3.01(G) CERTIFICATION

        Pursuant to Local Rule 3.01(g), undersigned counsel has conferred with counsel for the
all interested parties, all of whom indicated they do not object to this Motion for Special
Admission.
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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 12th day of May 2021, the foregoing document was
filed via electronic filing using the CM/ECF system, which sent e-mail notification of such
filing to all CM/ECF participants and via electronic mail on all counsel or parties of record on
the attached Service List.

                                               Respectfully submitted,

                                         By:     /S/ Eric J. Stockel         .



                                               ERIC J. STOCKEL, ESQUIRE
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                                               - and -

                                               PETER. N. LOBASSO, ESQUIRE (pro hac vice
                                               pending)
                                               Virginia Bar No. 66348
                                               plobasso@asta.org
                                               American Society of Travel Advisors, Inc.
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                                               Alexandria, VA 22314
                                               Telephone: (703) 739-6854
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                                           SERVICE LIST

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